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                                                           Order Filed on December 21, 2023
                                                           by Clerk
                                                           U.S. Bankruptcy Court
                                                           District of New Jersey




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